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   ROETZEL
                                                                                                          2320 First Street
                                                                                                                 Suite 1000
                                                                                                   Fort Myers, FL 33901
                                                                                                  DIRECT DIAL 239.338.4218
                                                                                     PHONE 239.337.3850 FAX 239.337.0970
                                                                                                    jmorgan@ralaw.com
                                                                                                                  WVVW.RALAW.COM



                                               August 4, 2015


  VIA CERTIFIED MAIL — RETURN RECEIPT REQUESTED

 Mr. Charles Julian
 President
 Robo Enterprises, Inc.
 d/b/a Bare Assets Adult Entertainment Club
 4020 West New Haven Avenue
 Melbourne, Florida 32904

 Mr. Charles Julian
 Registered Agent for
 Robo Enterprises, Inc.
 4020 West New Haven Avenue
 Melbourne, Florida 32904

                            Re: Notice Pursuant to Florida Statute § 448.110(6): Class
                               Action claims for minimum wages under Article X,
                               Section 24 of the Florida Constitution

 Dear Sirs:

        This firm currently represents Charlotte Alvarado, Jamie Duhrkoff, Kandi Wilson, Naomi
Offield and a punitive class of all dancers/entertainers who worked for you and your nightclub,
Robo Enterprises, Inc. d/b/a Bare Assets Adult Entertainment Club (hereinafter "Bare Assets"),
since August 3, 2010, who are seeking unpaid minimum wages under Article X, Section 24 of
the Florida Constitution. Please accept this correspondence as Notice pursuant to Florida Statute
§ 448.110(6) regarding amounts due and owing such dancers, in the amount of approximately
$2,863,785.00.

        Although our primary clients are Charlotte Alvarado, Jamie Duhrkoff, Kandi Wilson and
Naomi Offield, the issue they have with you—unpaid minimum wage is a common issue with
respect to dancers and entertainers who worked for you during the time period referenced above
(collectively "dancers"). Thus, Charlotte Alvarado, Jamie Duhrkoff, Kandi Wilson and Naomi
Offield seek to represent a class composed of all dancers and entertainers employed by you


                                                                                     EXHIBIT
 ROETZEL & ANDRESS                                CHICAGO • WASHINGTON, D.C. • CLEVELAND . TOLEDO • AKRON • COLUMBUS • CINCINNATI
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  within the last five years as a class action pursuant to Florida Rule of Civil Procedure 1.220,
  Rule 23 of the Federal Rules of Civil Procedure and as endorsed by Article X, Section 24(e) of
  the Florida Constitution.

          Each of these dancers allege they were not paid proper minimum wages pursuant to
 Article X, Section 24 of the Florida Constitution because Bare Assets, based on my review,
 failed to pay its dancers minimum wage for all hours worked. As such Charlotte Alvarado, Jamie
 Duhrkoff, Kandi Wilson and Naomi Offield have a claim for unpaid wages under the Federal
 Fair Labor Standards Act and Florida Statute §448.110, et seq.(the Florida Minimum Wage
 Act). Specifically, throughout the last 5 years, Bare Assets has maintained a policy common to
 all of its dancers and entertainers, whereby it appears that your company failed to pay its dancers
 and entertainers minimum wages for all hours worked.

         Based on our investigation and information from our clients, Bare Assets employs
 approximately 60 dancers at any given time. Accounting for the turnover within the last five
 years we believe there are approximately 400 dancers within the punitive class, all of whom are
 entitled to repayment of the tip credit impermissibly taken as described above.

        In absence of actual paychecks and timesheets, Charlotte Alvarado, Jamie Duhrkoff,
 Kandi Wilson and Naomi Offield estimate the following work dates, hours and alleged unpaid
 wages for which payment is sought regarding their claims:

 Charlotte Alvarado:

October 1, 2013 to December 31, 2013: 24 hours per week x $7.79 (Florida Minimum Wage)=
$186.96 per week x 12 weeks worked = $2,243.52

January 1, 2014 to December 31, 2014: 24 hours per week x $7.93 (Florida Minimum Wage)=
$190.32 owed per week x 52 weeks worked= $9,896.64

         Unpaid wages sought for Charlotte Alvarado: $12,140.16

Naomi Offield:

November 1, 2013 to December 31, 2013: 35 hours per week x $7.79 (Florida Minimum Wage)
= $272.65 owed per week x 8 weeks worked= $2,181.20.

January 1, 2014 to December 31, 2014: 35 hours per week x $7.93 (Florida Minimum Wage)=
$277.55 owed per week x 52 weeks worked= $14,432.60

        Unpaid wages sought for Naomi Offield: $16,613.80




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  Janie Duhrkoff:

  August 3, 2010 to December 31, 2010: 30 hours per week x $7.25 (Florida Minimum Wage)=
  $217.50 owed per week x 20 weeks worked= $4,350.00.

  January 1, 2011 to May 31, 2011: 30 hours per week x $7.25 (Florida Minimum Wage) —
  $217.50 owed per week x 21 weeks worked= $4,567.50.

  June 1, 2011 to December 31, 2011: 30 hours per week x $7.31 (Florida Minimum Wage)=
  $219.30 owed per week x 31 weeks worked= $6,798.30.

 January 1, 2012 to December 31, 2012: 30 hours per week x $7.67(Florida Minimum Wage)=
 $230.10 owed per week x 52 weeks worked= $11,965.20.

 January 1, 2013 to December 31, 2013: 30 hours per week x $7.79 (Florida Minimum Wage)=
 $233.70 owed per week x 52 weeks worked= $12,152.40.

 January 1, 2014 to December 31, 2014: 30 hours per week x $7.93 (Florida Minimum Wage)=
 $237.90 owed per week x 52 weeks worked= $12,370.80.

         Unpaid wages sought for Jamie Duhrkoff: $52,204.20

 Kandi Wilson:

 March 1, 2011 to May 31, 2011: 18 hours per week x $7.25 (Florida Minimum Wage)=
 $130.50 owed per week x 12 weeks worked= $1,566.00

January 1, 2011 to May 31, 2011: 18 hours per week x $7.25 (Florida Minimum Wage)=
$130.50 owed per week x 21 weeks worked= $2,740.50.

June 1, 2011 to December 31, 2011: 18 hours per week x $7.31 (Florida Minimum Wage)=
$131.58 owed per week x 31 weeks worked= $4,078.98.

January 1, 2012 to December 31, 2012: 18 hours per week x $7.67(Florida Minimum Wage)=
$138.06 owed per week x 52 weeks worked= $7,179.12

January 1, 2013 to December 31, 2013: 18 hours per week x $7.79(Florida Minimum Wage)=
$140.22 owed per week x 52 weeks worked= $7,291.44

January 1, 2014 to December 31, 2014: 18 hours per week x $7.93 (Florida Minimum Wage)=
$142.74 owed per week x 52 weeks worked= $7,422.48.




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             Unpaid wages sought for Kandi Wilson: $ 30,278.52

                   Total unpaid wages Sought for named clients: $ 111,236.68

         Since we have incomplete information for the remaining dancers and entertainers, this
  number will be used as an estimate for our remaining clients for whom we do not have records.
  Assuming that Bare Assets has an average of 60 dancers in a given week, and each dancer
  worked 25 hours, the dancers (as a class) worked a total of 1500 hours per week for which
  Rachel's failed to pay them proper minimum wages. Thus, the class damages are calculated as
  follows:


 August 3, 2010 to December 31, 2010: 1500 hours per week x $7.25 (Florida Minimum Wage) —
 $10,875.00 owed per week x 20 weeks worked= $217,500.00

 January 1, 2011 to May 31, 2011: 1500 hours per week x $7.25 (Florida Minimum Wage)=
 $10,875.00 owed per week x 21 weeks worked= $228,375.00

 June 1, 2011 to December 31, 2011: 1500 hours per week x $7.31 (Florida Minimum Wage)=
 $10,965.00 owed per week x 31 weeks worked= $339,915.00

 January 1, 2012 to December 31, 2012: 1500 hours per week x $7.67 (Florida Minimum Wage)=
 $11,505.00 owed per week x 52 weeks worked= $598,260.00

 January 1, 2013 to December 31, 2013: 1500 hours per week x $7.79 (Florida Minimum Wage)=
 $11,685.00 owed per week x 52 weeks worked= $607,620.00

January 1, 2014 to December 31, 2014: 1500 hours per week x $7.93 (Florida Minimum Wage)=
$11,895.00 owed per week x 52 weeks worked= $618,540.00

January 1, 2015 to May 31, 2015: 1500 hours per week x $8.05 (Florida Minimum Wage)=
$12,075.00 owed per week x 21 weeks worked= $253,575.00


                  Unpaid wages Sought for class: $2,863,785.00

       Thus, to resolve this matter, Bare Assets must pay $2,863,785.00 to the class of exotic
dancers for these unpaid minimum wages. Further, any such tender must be accompanied by
relevant pay and time records for each punitive class member, so that we may confirm that this is
indeed adequate pay for the unpaid minimum wages owed.

        Additionally, please be aware that the law prohibits anyone from discriminating or
retaliating against a current or former employee for pursuing their right to unpaid wages.
Therefore, to the extent any attempt is made to penalize, discipline, punish, threaten, intimidate,



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  or discriminate against our clients, we will pursue a claim for retaliation pursuant to Florida
  Statute §448.110(5).

          Although we believe this pre-suit requirement to be unconstitutional, this notice is sent
  pursuant to Florida Statute § 448.110(6). You have fifteen (15)calendar days from receipt of
  this notice to tender the amounts above and provide the relevant documentation demanded to the
  undersigned.

                                                        Sincerely,

                                                              ZEL & ANDRESS,LPA



                                                                Morgan III

 JCM1c




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